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IN THE UNITED STATES DISTRICT, COURED
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FOR THE DISTRICT OF MARYLAND © A BYLAND
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MOTTLEY FAMILY + ne
ENTERTAINMENT, INC.
*
D/B/A PUTT-PUTT FUN CENTER, et al.
*
Plaintiff,
*k
v. CIVIL NO. RDB-09-1546
*
WACHOVIA BANK, NATIONAL
ASSOCIATION *
Defendants. *
* Kk K KK OK
MEMORANDUM OPINION

 

Presently pending before this Court is the Motion of the Defendant Wachovia Bank
National Association for a More Definite Statement of Counts II and III of the First Amended
Complaint. (Paper No.12). The Plaintiffs have opposed said motion contending that the
Defendant is barred from its filing by Rule 12(e) of the Federal Rule of Civil Procedure as an
answer has already been filed. However, the Defendant has correctly noted that no responsive
pleading has been filed as to Counts IT and II.

This Court has reviewed the First Amended Complaint in which the Plaintiffs Motiley
Family Entertainment, Inc. d/b/a Putt-Putt Fun Center et al. have alleged that the Defendant
violated the Bank Holding Act, 12 U.S.C. § 1972 et seq. and interfered with prospective
economic advantage (Count II). The Plaintiffs have also requested the voiding of a loan (Count

III). In light of the allegations of malicious conduct the defendant is entitled to a more definite
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statement. See Fare Deals, Ltd., v. World Choice Travel .com, Inc., 180 F. Supp. 2d 678 (D.
Md. 2001).

Accordingly, said Motion for a More Definite Statement (Paper No.12) is GRANTED,
and the plaintiffs shall provide a more definite statement within 30 days from the date of this

Order.

September 25, 2009 fa 2 SU

Richard D. Bennett
United States District Judge
